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                                FOR PUBLICATION

                   UNITED STATES COURT OF APPEALS
                        FOR THE NINTH CIRCUIT


                 HOMEAWAY.COM, INC.; AIRBNB            No. 18-55367
                 INC.,
                            Plaintiffs-Appellants,        D.C. Nos.
                                                       2:16-cv-06641-
                                v.                       ODW-AFM
                                                       2:16-cv-06645-
                 CITY OF SANTA MONICA,                   ODW-AFM
                               Defendant-Appellee.



                 HOMEAWAY.COM, INC.,                   No. 18-55805
                             Plaintiff-Appellant,
                                                          D.C. Nos.
                                and                    2:16-cv-06641-
                                                         ODW-AFM
                 AIRBNB INC.,                          2:16-cv-06645-
                                          Plaintiff,     ODW-AFM

                                v.

                 CITY OF SANTA MONICA,
                               Defendant-Appellee.
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                  AIRBNB INC.,                                      No. 18-55806
                                       Plaintiff-Appellant,
                                                                      D.C. No.
                                      v.                           2:16-cv-06645-
                                                                     ODW-AFM
                  CITY OF SANTA MONICA,
                                Defendant-Appellee.                   OPINION



                          Appeal from the United States District Court
                             for the Central District of California
                          Otis D. Wright II, District Judge, Presiding

                            Argued and Submitted October 12, 2018
                                     Pasadena, California

                                       Filed March 13, 2019

                     Before: Mary M. Schroeder and Jacqueline H. Nguyen,
                     Circuit Judges, and Michael H. Simon, * District Judge.

                                    Opinion by Judge Nguyen




                      *
                       The Honorable Michael H. Simon, United States District Judge for
                 the District of Oregon, sitting by designation.
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                                           SUMMARY **


                                            Civil Rights

                     The panel affirmed the district court’s dismissal, for
                 failure to state a claim, of a complaint brought by
                 HomeAway.com and Airbnb Inc. challenging the City of
                 Santa Monica’s Ordinance 2535, which imposes various
                 obligations on companies that host online platforms for
                 short-term vacation rentals.

                     The Ordinance, as amended in 2017, imposes four
                 obligations on hosting platforms: (1) collecting and
                 remitting Transient Occupancy Taxes; (2) regularly
                 disclosing listings and booking information to the City; (3)
                 refraining from booking properties not licensed and listed on
                 the City’s registry; (4) and refraining from collecting a fee
                 for ancillary services.

                     The panel rejected plaintiffs’ assertion that the
                 Ordinance violated the Communications Decency Act of
                 1996, 47 U.S.C. § 230 because it required them to monitor
                 and remove third-party content, and therefore interfered with
                 federal policy protecting internet companies from liability
                 for posting third-party content. The panel stated that the
                 Ordinance prohibits processing transactions for unregistered
                 properties. It does not require the Platforms to review the
                 content provided by the hosts of listings on their websites.
                 Rather, the panel noted that the only monitoring that
                 appeared necessary in order to comply with the Ordinance

                     **
                        This summary constitutes no part of the opinion of the court. It
                 has been prepared by court staff for the convenience of the reader.
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                 related to incoming requests to complete a booking
                 transaction—content that, while resulting from the third-
                 party listings, was distinct, internal, and nonpublic. The
                 panel concluded that the Ordinance was not inconsistent
                 with the Communications Decency Act, and therefore was
                 not expressly preempted by its terms. The panel further
                 concluded that the Ordinance would not pose an obstacle to
                 Congress’s aim to encourage self-monitoring of third-party
                 content, and therefore obstacle preemption did not preclude
                 Santa Monica from enforcing the Ordinance.

                     The panel held that the Ordinance did not implicate
                 speech protected by the First Amendment, concluding that
                 the Ordinance’s prohibitions regulate nonexpressive
                 conduct, specifically booking transactions, and do not single
                 out those engaged in expressive activity.


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                                               OPINION

                 NGUYEN, Circuit Judge:

                      Located on the coast of Southern California, the city of
                 Santa Monica consists of only about eight square miles but
                 serves 90,000 residents and as many as 500,000 visitors on
                 weekends and holidays. Similar to other popular tourist
                 destinations, Santa Monica is struggling to manage the
                 disruptions brought about by the rise of short-term rentals
                 facilitated by innovative startups such as Appellants
                 HomeAway.com, Inc. and Airbnb Inc. (the “Platforms”).
                 Websites like those operated by the Platforms are essentially
                 online marketplaces that allow “guests” seeking
                 accommodations and “hosts” offering accommodations to
                 connect and enter into rental agreements with one another. 1
                 As of February 2018, Airbnb had approximately 1,400
                 listings in Santa Monica, of which about 30 percent are in

                      1
                        The Platforms do not own, lease, or manage any of the properties
                 listed on their websites, nor are they parties to the rental agreements.
                 Instead, the content provided alongside the listings—such as description,
                 price, and availability—are provided by the hosts. For their services, the
                 Platforms collect a fee from each successful booking.
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                 the “coastal zone” covered by the California Coastal Act,
                 while HomeAway.com had approximately 300 live listings
                 in Santa Monica, of which approximately 40 percent are in
                 the coastal zone.

                     Santa Monica’s council reported that the proliferation of
                 short-term rentals had negatively impacted the quality and
                 character of its neighborhoods by “bringing commercial
                 activity and removing residential housing stock from the
                 market” at a time when California is already suffering from
                 severe housing shortages. In response, the city passed an
                 ordinance regulating the short-term vacation rental market
                 by authorizing licensed “home-sharing” (rentals where
                 residents remain on-site with guests) but prohibiting all other
                 short-term home rentals of 30 consecutive days or less.

                     ]The Platforms filed suit, alleging that the city ordinance
                 is preempted by the Communications Decency Act and
                 impermissibly infringes upon their First Amendment rights.
                 The district court denied preliminary injunctive relief, and
                 dismissed the Platforms’ complaints for failure to state a
                 claim under the Communications Decency Act and the First
                 Amendment. We affirm.

                                      BACKGROUND

                     In May 2015, Santa Monica passed its initial ordinance
                 regulating the short-term vacation rental market by
                 authorizing licensed “home-sharing” (rentals where
                 residents remain on-site with guests) but prohibiting all other
                 forms of short-term rentals for 30 consecutive days or less.
                 Santa Monica Ordinance 2484 (May 12, 2015), codified as
                 amended, Santa Monica Mun. Code §§ 6.20.010–6.20.100.
                 The ordinance reflected the city’s housing goals of
                 “preserving its housing stock and preserving the quality and
                 character of its existing single and multi-family residential
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                 neighborhoods.” Id. As originally enacted, the ordinance
                 prohibited hosting platforms from acting to “undertake,
                 maintain, authorize, aid, facilitate or advertise any Home-
                 Sharing activity” that was not authorized by the city.
                 Hosting platforms also were required to collect and remit
                 taxes, and to regularly disclose listings and booking
                 information to the city.

                     The Platforms each filed a complaint in the Central
                 District of California challenging the initial ordinance, and
                 the district court consolidated the cases for discovery and
                 pretrial matters. On September 21, 2016, the parties
                 stipulated to stay the case while the city considered
                 amendments to the local ordinance. During the stay period,
                 the district court for the Northern District of California
                 denied a preliminary injunction requested by the plaintiffs in
                 a separate case challenging a similar ordinance in San
                 Francisco. See Airbnb Inc. v. City & County of San
                 Francisco, 217 F. Supp. 3d 1066 (N.D. Cal. 2016). That
                 case ended in a settlement in which the Platforms agreed to
                 comply with an amended version of San Francisco’s
                 ordinance that prohibited booking unlawful transactions but
                 provided a safe harbor wherein any platform that complies
                 with the responsibilities set out in the Ordinance will be
                 presumed to be in compliance with the law.

                     In January 2017, Santa Monica likewise amended its
                 own ordinance. The version challenged here, Ordinance
                 2535 (the “Ordinance”), retains its prohibitions on most
                 types of short-term rentals, with the exception of licensed
                 home-shares. In addition, the Ordinance imposes four
                 obligations on hosting platforms directly: (1) collecting and
                 remitting “Transient Occupancy Taxes,” (2) disclosing
                 certain listing and booking information regularly,
                 (3) refraining from completing any booking transaction for
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                 properties not licensed and listed on the City’s registry, and
                 (4) refraining from collecting or receiving a fee for
                 “facilitating or providing services ancillary to a vacation
                 rental or unregistered home-share.” If a housing platform
                 operates in compliance with these obligations, the Ordinance
                 provides a safe harbor by presuming the platform to be in
                 compliance with the law. Otherwise, violations are
                 punishable by a fine of up to $500 and/or imprisonment for
                 up to six months.

                     After the district court lifted the stay, the Platforms
                 amended their complaint to challenge the revised ordinance
                 and moved for a preliminary injunction. Santa Monica
                 moved to dismiss the amended complaint. The court denied
                 the Platforms’ motion for preliminary injunctive relief and
                 subsequently granted Santa Monica’s motion to dismiss on
                 the ground that the Platforms failed to state a claim under
                 federal law, including the Communications Decency Act of
                 1996 and the First Amendment. The district court also
                 declined to exercise supplemental jurisdiction over their
                 remaining state-law claims. 2 The Platforms timely appealed
                 these decisions, and we consolidated the appeals.




                      2
                        The Platforms do not appeal the district court’s dismissal of other
                 federal claims brought under the Fourth Amendment and the Stored
                 Communications Act. Similarly, they do not challenge the court’s
                 decision not to exercise supplemental jurisdiction over the state-law
                 claims under the California Coastal Act if we affirm the dismissal of their
                 federal claims. Because we affirm the district court’s dismissal, we need
                 not consider the state-law claims. We deny Santa Monica’s motion for
                 judicial notice of its prior enforcement actions because the dispute as to
                 its prior actions relates only to the state-law claims.
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                    JURISDICTION AND STANDARD OF REVIEW

                     We have jurisdiction under 28 U.S.C. § 1291. We
                 review the district court’s order of dismissal de novo,
                 “accepting all factual allegations in the complaint as true and
                 construing them in the light most favorable to the
                 nonmoving party.” Yagman v. Garcetti, 852 F.3d 859, 863
                 (2017) (quoting Ebner v. Fresh, Inc., 838 F.3d 958, 962 (9th
                 Cir. 2016)).

                                        DISCUSSION

                              I. Communications Decency Act

                     The Communications Decency Act of 1996 (“CDA” or
                 the “Act”), 47 U.S.C. § 230, provides internet companies
                 with immunity from certain claims in furtherance of its
                 stated policy “to promote the continued development of the
                 Internet and other interactive computer services.” Id.
                 § 230(b)(1).     Construing this immunity broadly, the
                 Platforms argue that the Ordinance requires them to monitor
                 and remove third-party content, and therefore violates the
                 CDA by interfering with federal policy protecting internet
                 companies from liability for posting third-party content.
                 Santa Monica, on the other hand, argues that the Ordinance
                 does not implicate the CDA because it imposes no obligation
                 on the Platforms to monitor or edit any listings provided by
                 hosts. Santa Monica contends that the Ordinance is simply
                 an exercise of its right to enact regulations to preserve
                 housing by curtailing “incentives for landlords to evade rent
                 control laws, evict tenants, and convert residential units into
                 de facto hotels.”

                    We begin our analysis with the text of the CDA. See BP
                 America Prod. Co. v. Burton, 549 U.S. 84, 91 (2006).
                 Section 230(c)(1) states that “[n]o provider or user of an
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                 interactive computer service shall be treated as the publisher
                 or speaker of any information provided by another
                 information content provider.” Id. § 230(c)(1). The CDA
                 explicitly preempts inconsistent state laws: “Nothing in this
                 section shall be construed to prevent any State from
                 enforcing any State law that is consistent with this section.
                 No cause of action may be brought and no liability may be
                 imposed under any State or local law that is inconsistent with
                 this section.” Id. § 230(e)(3).

                     We have construed these provisions to extend immunity
                 to “(1) a provider or user of an interactive computer service
                 (2) whom a plaintiff seeks to treat, under a state law cause of
                 action, as a publisher or speaker (3) of information provided
                 by another information content provider.” Barnes v. Yahoo!,
                 Inc., 570 F.3d 1096, 1100–01 (9th Cir. 2009). Only the
                 second element is at issue here: whether the Ordinance treats
                 the Platforms as a “publisher or speaker” in a manner that is
                 barred by the CDA. Although the CDA does not define
                 “publisher,” we have defined “publication” in this context to
                 “involve[] reviewing, editing, and deciding whether to
                 publish or to withdraw from publication third-party
                 content.” Id. at 1102 (citing Fair Hous. Council v.
                 Roommates.com, LLC, 521 F.3d 1157, 1170–71 (9th Cir.
                 2008) (en banc)).

                     The Platforms offer two different theories as to how the
                 Ordinance in fact reaches “publication” activities. First, the
                 Platforms claim that the Ordinance is expressly preempted
                 by the CDA because, as they argue, it implicitly requires
                 them “to monitor the content of a third-party listing and
                 compare it against the City’s short-term rental registry
                 before allowing any booking to proceed.” Relying on Doe
                 v. Internet Brands, 824 F.3d 846, 851 (9th Cir. 2016), the
                 Platforms take the view that CDA immunity follows
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                 whenever a legal duty “affects” how an internet company
                 “monitors” a website.

                     However, the Platforms read Internet Brands too
                 broadly. In that case, two individuals used the defendant’s
                 website to message and lure the plaintiff to sham auditions
                 where she was drugged and raped. Id. at 848. We held that,
                 where the website provider was alleged to have known
                 independently of the ongoing scheme beforehand, the CDA
                 did not bar an action under state law for failure to warn. Id.
                 at 854. We observed that a duty to warn would not
                 “otherwise affect how [the defendant] publishes or
                 monitors” user content. Id. at 851. Though the defendant
                 did, in its business, act as a publisher of third-party content,
                 the underlying legal duty at issue did not seek to hold the
                 defendant liable as a “publisher or speaker” of third-party
                 content. Id. at 853; see 47 U.S.C. § 230(c)(1). We therefore
                 declined to extend CDA immunity to the defendant for the
                 plaintiff’s failure-to-warn claim. Internet Brands, 824 F.3d
                 at 854.

                     We do not read Internet Brands to suggest that CDA
                 immunity attaches any time a legal duty might lead a
                 company to respond with monitoring or other publication
                 activities. It is not enough that third-party content is
                 involved; Internet Brands rejected use of a “but-for” test that
                 would provide immunity under the CDA solely because a
                 cause of action would not otherwise have accrued but for the
                 third-party content. Id. at 853. We look instead to what the
                 duty at issue actually requires: specifically, whether the duty
                 would necessarily require an internet company to monitor
                 third-party content. See id. at 851, 853.

                   Here, the Ordinance does not require the Platforms to
                 monitor third-party content and thus falls outside of the
                 CDA’s immunity. The Ordinance prohibits processing
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                 transactions for unregistered properties. It does not require
                 the Platforms to review the content provided by the hosts of
                 listings on their websites. Rather, the only monitoring that
                 appears necessary in order to comply with the Ordinance
                 relates to incoming requests to complete a booking
                 transaction—content that, while resulting from the third-
                 party listings, is distinct, internal, and nonpublic. As in
                 Internet Brands, it is not enough that the third-party listings
                 are a “but-for” cause of such internal monitoring. See
                 824 F.3d at 853. The text of the CDA is “clear that neither
                 this subsection nor any other declares a general immunity
                 from liability deriving from third-party content.” Barnes,
                 570 F.3d at 1100. To provide broad immunity “every time a
                 website uses data initially obtained from third parties would
                 eviscerate [the CDA].” Barnes, 570 F.3d at 1100 (quoting
                 Roommates.com, 521 F.3d at 1171 (9th Cir. 2008) (en
                 banc)). That is not the result that Congress intended.

                     Nor could a duty to cross-reference bookings against
                 Santa Monica’s property registry give rise to CDA
                 immunity. While keeping track of the city’s registry is
                 “monitoring” third-party content in the most basic sense,
                 such conduct cannot be fairly classified as “publication” of
                 third-party content. The Platforms have no editorial control
                 over the registry whatsoever. As with tax regulations or
                 criminal statutes, the Ordinance can fairly charge parties
                 with keeping abreast of the law without running afoul of the
                 CDA.

                    Second, the Platforms argue that the Ordinance “in
                 operation and effect . . . forces [them] to remove third-party
                 content.” Although it is clear that the Ordinance does not
                 expressly mandate that they do so, the Platforms claim that
                 “common sense explains” that they cannot “leave in place a
                 website chock-full of un-bookable listings.” For purposes of
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                 our review, we accept at face value the Platforms’ assertion
                 that they will choose to remove noncompliant third-party
                 listings on their website as a consequence of the Ordinance. 3
                 Nonetheless, their choice to remove listings is insufficient to
                 implicate the CDA.

                     On its face, the Ordinance does not proscribe, mandate,
                 or even discuss the content of the listings that the Platforms
                 display on their websites. See Santa Monica Mun. Code
                 §§ 6.20.010–6.20.100. It requires only that transactions
                 involve licensed properties. We acknowledge that, as the
                 Platforms explain in Airbnb’s complaint and in the briefing
                 on appeal, removal of these listings would be the best option
                 “from a business standpoint.” But, as in Internet Brands, the
                 underlying duty “could have been satisfied without changes
                 to content posted by the website’s users.” See 824 F.3d
                 at 851. Even assuming that removing certain listings may be
                 the Platforms’ most practical compliance option, allowing
                 internet companies to claim CDA immunity under these
                 circumstances would risk exempting them from most local
                 regulations and would, as this court feared in
                 Roommates.com, 521 F.3d at 1164, “create a lawless no-
                 man’s-land on the Internet.” We hold that the Ordinance is
                 not “inconsistent” with the CDA, and is therefore not
                 expressly preempted by its terms. See 47 U.S.C. § 230(e)(3).

                     Finally, the Platforms argue that, even if the Ordinance
                 is not expressly preempted by the CDA, the Ordinance
                 imposes “an obstacle to the accomplishment and execution
                       3
                         The Platforms argued below that the district court must accept as
                 true their allegation that they would “have to” monitor and screen
                 listings. As a matter of law, the Ordinance does not require them to do
                 so. Courts are “not bound to accept as true a legal conclusion couched
                 as a factual allegation.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544,
                 555 (2007) (quoting Papasan v. Allain, 478 U.S. 265, 286 (1986)).
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                 of the full purposes and objectives of Congress.” See Crosby
                 v. Nat’l Foreign Trade Council, 530 U.S. 363, 372–73
                 (2000). Reading the CDA expansively, they argue that the
                 Ordinance conflicts with the CDA’s goal “to preserve the
                 vibrant and competitive free market that presently exists for
                 the Internet . . . unfettered by Federal or State regulation.”
                 See § 230(b)(2). We have consistently eschewed an
                 expansive reading of the statute that would render unlawful
                 conduct “magically . . . lawful when [conducted] online,”
                 and therefore “giv[ing] online businesses an unfair
                 advantage over their real-world counterparts.”             See
                 Roommates.com, 521 F.3d at 1164, 1164–65 n.15. For the
                 same reasons, while we acknowledge the Platforms’
                 concerns about the difficulties of complying with numerous
                 state and local regulations, the CDA does not provide
                 internet companies with a one-size-fits-all body of law. Like
                 their brick-and-mortar counterparts, internet companies
                 must also comply with any number of local regulations
                 concerning, for example, employment, tax, or zoning.
                 Because the Ordinance would not pose an obstacle to
                 Congress’s aim to encourage self-monitoring of third-party
                 content, we hold that obstacle preemption does not preclude
                 Santa Monica from enforcing the Ordinance.

                      Fundamentally, the parties dispute how broadly to
                 construe the CDA so as to continue serving the purposes
                 Congress envisioned while allowing state and local
                 governments breathing room to address the pressing issues
                 faced by their communities.            We have previously
                 acknowledged that the CDA’s immunity reaches beyond the
                 initial state court decision that sparked its enactment. See
                 Fair Hous. Council v. Roommates.com, LLC, 521 F.3d 1157,
                 1163 (9th Cir. 2008) (en banc) (discussing Stratton
                 Oakmont, Inc. v. Prodigy Servs. Co., which held an internet
                 company liable for defamation when it removed some, but
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                 not all, harmful content from its public message boards,
                 1995 WL 323710 (N.Y. Sup. Ct. May 24, 1995)
                 (unpublished)). As the Platforms correctly note, the Act’s
                 policy statements broadly promote “the vibrant and
                 competitive free market that presently exists for the Internet
                 . . . unfettered by Federal or State regulation.” See 47 U.S.C.
                 § 230(b)(2). “[A] law’s scope often differs from its genesis,”
                 and we have repeatedly held the scope of immunity to reach
                 beyond defamation cases. Barnes, 570 F.3d at 1101 (quoting
                 Chicago Lawyers’ Comm. for Civil Rights Under Law, Inc.
                 v. Craigslist, Inc., 519 F.3d 666, 671 (7th Cir. 2008), as
                 amended (May 2, 2008)) (citing cases applying immunity for
                 causes of action including discrimination, fraud, and
                 negligence).

                      At the same time, our cases have hewn closely to the
                 statutory language of the CDA and have limited the
                 expansion of its immunity beyond the protection Congress
                 envisioned. As we have observed, “the [relevant] section is
                 titled ‘Protection for “good Samaritan” blocking and
                 screening of offensive material.’”           Roommates.com,
                 521 F.3d at 1163–64 (quoting 47 U.S.C. § 230(c)); see also
                 Internet Brands, 824 F.3d at 852. Congress intended to
                 “spare interactive computer services [the] grim choice”
                 between voluntarily filtering content and being subject to
                 liability on the one hand, and “ignoring all problematic posts
                 altogether [to] escape liability.” Roommates.com, 521 F.3d
                 at 1163–64. In contrast, the Platforms face no liability for
                 the content of the bookings; rather, any liability arises only
                 from unlicensed bookings. We do not discount the
                 Platforms’ concerns about the administrative burdens of
                 state and local regulations, but we nonetheless disagree that
                 § 230(c)(1) of the CDA may be read as broadly as they
                 advocate, or that we may ourselves expand its provisions
                 beyond what Congress initially intended.
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                     In sum, neither express preemption nor obstacle
                 preemption apply to the Ordinance. We therefore affirm the
                 district court’s dismissal for failure to state a claim under the
                 CDA.

                                     II. First Amendment

                       The Platforms also contend that the district court erred in
                 dismissing their First Amendment claims. They argue that,
                 even if the plain language of the Ordinance only reaches
                 “conduct,” i.e., booking unlicensed properties, the law
                 effectively imposes a “content-based financial burden” on
                 commercial speech and is thus subject to First Amendment
                 scrutiny. The district court concluded that the Ordinance
                 “regulates conduct, not speech, and that the conduct banned
                 . . . does not have such a ‘significant expressive element’ as
                 to draw First Amendment protection.” We agree.

                     That the Ordinance regulates “conduct” is not alone
                 dispositive. The Supreme Court has previously applied First
                 Amendment scrutiny when “‘speech’ and ‘nonspeech’
                 elements are combined in the same course of conduct.” See
                 United States v. O’Brien, 391 U.S. 367, 376 (1968). But
                 “restrictions on protected expression are distinct from
                 restrictions on economic activity or, more generally, on
                 nonexpressive conduct.” Sorrell v. IMS Health Inc.,
                 564 U.S. 552, 567 (2011). While the former is entitled to
                 protection, “the First Amendment does not prevent
                 restrictions directed at commerce or conduct from imposing
                 incidental burdens on speech.” Id.

                     To determine whether the First Amendment applies, we
                 must first ask the “threshold question [of] whether conduct
                 with a ‘significant expressive element’ drew the legal
                 remedy or the ordinance has the inevitable effect of ‘singling
                 out those engaged in expressive activity.’” Int’l Franchise
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                 Ass’n v. City of Seattle, 803 F.3d 389, 408 (9th Cir. 2015)
                 (quoting Arcara v. Cloud Books, Inc., 478 U.S. 697, 706–07
                 (1986)). A court may consider the “inevitable effect of a
                 statute on its face,” as well as a statute’s “stated purpose.”
                 Sorrell, 564 U.S. at 565. However, absent narrow
                 circumstances, a court may not conduct an inquiry into
                 legislative purpose or motive beyond what is stated within
                 the statute itself. See O’Brien, 391 U.S. at 383 n.30.
                 Because the conduct at issue—completing booking
                 transactions for unlawful rentals—consists only of
                 nonspeech, nonexpressive conduct, we hold that the
                 Ordinance does not implicate the First Amendment.

                     First, the prohibitions here did not target conduct with “a
                 significant expressive element.” See Arcara, 478 U.S.
                 at 706. Our decision in International Franchise Ass’n is
                 analogous. There, the plaintiff challenged a minimum wage
                 ordinance that would have accelerated the raising of the
                 minimum wage to $15 per hour for franchise owners and
                 other large employers. 803 F.3d at 389. In denying a
                 preliminary injunction, the district court held that the
                 plaintiffs were not likely to succeed on their First
                 Amendment argument that the ordinance treated them
                 differently based on their “speech and association” decisions
                 to operate within a franchise relationship framework. Id. at
                 408–09.       We agreed, concluding that the “business
                 agreement or business dealings” were not conduct with a
                 “significant expressive element.” Id. at 408. Instead,
                 “Seattle’s minimum wage ordinance [was] plainly an
                 economic regulation that [did] not target speech or
                 expressive conduct.” Id.

                     Similarly, here, the Ordinance is plainly a housing and
                 rental regulation. The “inevitable effect of the [Ordinance]
                 on its face” is to regulate nonexpressive conduct—namely,
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                 booking transactions—not speech. See Sorrell, 564 U.S.
                 at 565. As in International Franchise Ass’n, the “business
                 agreement or business dealings” associated with processing
                 a booking is not conduct with a “significant expressive
                 element.” See 803 F.3d at 408 (citation and quotation marks
                 omitted). Contrary to the Platforms’ claim, the Ordinance
                 does not “require” that they monitor or screen
                 advertisements. It instead leaves them to decide how best to
                 comply with the prohibition on booking unlawful
                 transactions.

                     Nor can the Platforms rely on the Ordinance’s “stated
                 purpose” to argue that it intends to regulate speech. The
                 Ordinance itself makes clear that the City’s “central and
                 significant goal . . . is preservation of its housing stock and
                 preserving the quality and nature of residential
                 neighborhoods.” As such, with respect to the Platforms, the
                 only inevitable effect, and the stated purpose, of the
                 Ordinance is to prohibit them from completing booking
                 transactions for unlawful rentals.

                     As for the second prong of our inquiry, whether the
                 Ordinance has the effect of “singling out those engaged in
                 expressive activity,” Arcara, 478 U.S. at 706–07, we
                 conclude that it does not. As the Platforms point out,
                 websites like Craigslist “advertise the very same properties,”
                 but do not process transactions. Unlike the Platforms, those
                 websites would not be subject to the Ordinance,
                 underscoring that the Ordinance does not target websites that
                 post listings, but rather companies that engage in unlawful
                 booking transactions.

                     Moreover, the incidental impacts on speech cited by the
                 Platforms raise minimal concerns. The Platforms argue that
                 the Ordinance chills commercial speech, namely,
                 advertisements for third-party rentals. But even accepting
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                 that the Platforms will need to engage in efforts to validate
                 transactions before completing them, incidental burdens like
                 these are not always sufficient to trigger First Amendment
                 scrutiny. See Int’l Franchise Ass’n, 803 F.3d at 408
                 (“[S]ubjecting every incidental impact on speech to First
                 Amendment scrutiny ‘would lead to the absurd result that
                 any government action that had some conceivable speech
                 inhibiting consequences . . . would require analysis under
                 the First Amendment.’” (quoting Arcara, 478 U.S. at 708
                 (O’Connor, J., concurring))). Furthermore, to the extent that
                 the speech chilled advertises unlawful rentals, “[a]ny First
                 Amendment interest . . . is altogether absent when the
                 commercial activity itself is illegal and the restriction on
                 advertising is incidental to a valid limitation on economic
                 activity.” See Pittsburgh Press Co. v. Pittsburgh Comm’n
                 on Human Relations, 413 U.S. 376, 389 (1973).

                     Finally, because the Ordinance does not implicate speech
                 protected by the First Amendment, we similarly reject the
                 Platforms’ argument that the Ordinance is unconstitutional
                 without a scienter requirement. In most cases, there is no
                 “closed definition” on when a criminal statute must contain
                 a scienter requirement. See Morissette v. United States,
                 342 U.S. 246, 260 (1952). However, the Supreme Court has
                 drawn a bright line in certain contexts, such as holding that
                 the First Amendment requires statutes imposing criminal
                 liability for obscenity or child pornography to contain a
                 scienter requirement. See New York v. Ferber, 458 U.S. 747,
                 765 (1982). Such a requirement prevents “a severe
                 limitation on the public’s access to constitutionally protected
                 matter” as would result from inflexible laws criminalizing
                 “bookshops and periodical stands.” Smith v. California,
                 361 U.S. 147, 153 (1959).
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                     Here, even assuming that the Ordinance would lead the
                 Platforms to voluntarily remove some advertisements for
                 lawful rentals, there would not be a “severe limitation on the
                 public’s access” to lawful advertisements, especially
                 considering the existence of alternative channels like
                 Craigslist. Id. Such an incidental burden is far from “a
                 substantial restriction on the freedom of speech” that would
                 necessitate a scienter requirement. Id. at 150. Otherwise,
                 “[t]here is no specific constitutional inhibition against
                 making the distributors of good[s] the strictest censors of
                 their merchandise.” Id. at 152.

                                   III. Remaining Claims

                     On appeal, the Platforms do not challenge dismissal of
                 their other federal law claims “in light of the district court’s
                 interpretation of the Ordinance as only requiring disclosure
                 of information pursuant to requests that comply with the
                 Fourth Amendment and Stored Communications Act.”
                 Similarly, the parties specified that they would “not
                 challenge the district court’s decision to decline
                 supplemental jurisdiction if all the Platforms’ federal claims
                 were properly dismissed.” Accordingly, we need not
                 consider the remaining claims.

                                        *       *       *

                     Because the district court properly dismissed the
                 Platforms’ complaints for failure to state a claim, we dismiss
                 as moot the appeals from the denial of preliminary injunctive
                 relief.

                      AFFIRMED in part, DISMISSED in part.
